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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )   No. 01-cr-40070-003 JPG
                                                 )
AARON C. HUGHES,                                 )
                                                 )
       Defendant.                                )

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Aaron C. Hughes’ motion for a

reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guidelines Manual (“U.S.S.G.”) § 1B1.10 (Doc. 126). The Court appointed counsel

for Hughes, and counsel has moved to withdraw on the basis that she can make no non-frivolous

arguments in support of the defendant’s request (Doc. 129). See Anders v. California, 386 U.S.

738, 744 (1967). The government has responded to the motions (Doc. 131).

       Hughes pled guilty to conspiring to distribute 5 grams or more of crack cocaine. At

sentencing, the Court found by a preponderance of the evidence that Hughes’ relevant conduct

was at least 50 grams but less than 150 grams of crack cocaine, which under U.S.S.G1 § 2D1.1

yielded a base offense level of 32. His offense level was reduced by 3 points to 29 under

U.S.S.G. § 3E1.1 for acceptance of responsibility. Considering Hughes’ criminal history

category of III, this yielded a sentencing range of 108 to 135 months in prison. However,

because Hughes’ relevant conduct was more than 50 grams, his statutory minimum sentence was

10 years. See 21 U.S.C. § 841(b)(1)(A). Consequently, pursuant to U.S.S.G. § 5G1.1(c)(2), his


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        Unless otherwise noted, the references to the guidelines in this order are to the 2001
United States Sentencing Guidelines Manual.
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effective guideline range became 120 to 135 months. Hughes now asks the Court to apply recent

changes to U.S.S.G. § 2D1.1 to lower his sentence.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider the reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir.), cert. denied, 129 S. Ct. 2817 (2009).

       Hughes cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711

amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense

levels associated with various amounts of crack cocaine. The Sentencing Commission amended

U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. The amendments did not, however, reduce the sentencing

range of defendants whose minimum guideline sentence was determined under U.S.S.G. §


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5G1.1(c)(2) based on a statutory minimum rather than under U.S.S.G. § 2D1.1 based on relevant

conduct amounts. See Forman, 553 F.3d at 588 (“Nothing in § 3582(c)(2) permits a court to

reduce a sentence below the mandatory minimum.”). Because Hughes was sentenced based on

his statutory minimum sentence in accordance with U.S.S.G. § 5G1.1(c)(2), not his base offense

level set forth in U.S.S.G. § 2D1.1, under the old and amended guidelines, the low end of his

guideline range would have been 120 months. Thus, the amendments did not lower his guideline

range, and he cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a

sentence reduction.

       Because Hughes cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for

obtaining a sentence reduction, the Court does not have subject matter jurisdiction to consider a

reduction request. See Forman, 553 F.3d at 588; Lawrence, 535 F.3d at 637-38. The Court

therefore GRANTS counsel’s motion to withdraw (Doc. 129) and DISMISSES Hughes’ motion

for a sentence reduction (Doc. 126) for lack of jurisdiction.

       The Clerk is DIRECTED to mail a copy of this order to defendant Aaron C. Hughes,

Reg. No. 05357-025, CCM Sacramento, 501 I Street, Suite 9-400, Sacramento, CA 95814.

IT IS SO ORDERED.
Dated this 12th day of February, 2010.


                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              U.S. DISTRICT JUDGE




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